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 3   Telephone: (415) 575-3588
 4   Attorney for Defendant
     Steven Newton
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 6
 7
                                    UNITED STATES DISTRICT COURT
 8
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                    )    CR 05-00208 CRB
11                                                )
                           Plaintiff,             )    PROPOSED ORDER
12                                                )
                    vs.                           )
13                                                )
                                                  )
14   STEVEN NEWTON,                               )    Date: September 28, 2006
                                                  )    Time: 11:00 a.m.
15                         Defendant.             )    Courtroom: Hon. James Larson, Magistrate
                                                  )
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17
            Good cause appearing and upon motion of the Defendant, it is hereby ordered that the Court
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     excuses Defendant Steven Newton’s personal appearance at the hearing on Defendant Newton’s pre-trial
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     motions scheduled for September 28, 2006 at 11:00 a.m.
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              9/25/06                                              TES D      TC
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